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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

MAURICE MARCELL CARTER,                         :

       Petitioner,                              :

vs.                                             :   CIVIL ACTION NO. 08-0380-CG-C

UNITED STATES OF AMERICA,                       :   CRIMINAL ACTION NO. 07-0046-CG

       Respondent.                              :


                                            ORDER

       After due and proper consideration of all portions of this file deemed relevant to the

issues raised, and there having been no objections filed, the recommendation of the Magistrate

Judge made under 28 U.S.C. § 636(b)(l)(B) and dated October 31, 2008 is ADOPTED as the

opinion of this Court.

       DONE and ORDERED this 26th day of November, 2008.


                                                  /s/ Callie V. S. Granade
                                             CHIEF UNITED STATES DISTRICT JUDGE
